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                       UNITED STATES DISTRICT COURT

                      EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                      CRIMINAL ACTION

v.                                                            NO. 12-1

TELLY HANKTON                                                 SECTION "F"

                               ORDER AND REASONS

       Before the Court is the Government's motion to quash defendant

Telly Hankton's subpoenas duces tecum issued pursuant to request in

record document numbers 496, 496-1, and 498.                  For the reasons that

follow, the Court GRANTS the Government's motion.

                                    Background

         On February 5, 2014, the Court granted defendant Telly

Hankton's requests for oral argument on his motions for sanctions

and to dismiss the indictment, and set a hearing date for March 27,

2014. The Court's order specifically provides that presentation of

argument and evidence will be allowed at the hearing.                    In response

to the Court's order, Hankton requested the issuance of twelve

subpoenas:     six for production of documents on February 25, 2014,

and    six   for   testimony   on    the       March   27th   hearing    date.     The

Government now moves to quash the six subpoenas for production of

documents on February 25th.

                            Law and Application

       Rule 17(c)(1) of the Federal Rules of Criminal Procedure

allows “books, papers, documents, data, or other objects” to be

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subpoenaed   in   criminal   proceedings.     Rule   17(c)(2),      however,

provides:    “On motion made promptly, the court may quash or modify

the subpoena if compliance would be unreasonable or oppressive.”

Recognizing that the purpose of Rule 17(c) is not to provide an

additional means of discovery, but, rather, to expedite the trial

or hearing by allowing prior inspection of subpoenaed material, the

Supreme Court has created a four-part test to justify pretrial or

prehearing production of documents:

     [I]n order to require production prior to trial, the
     moving party must show:     (1) that the documents are
     evidentiary and relevant; (2) that they are not otherwise
     procurable reasonably in advance of trial by exercise of
     due diligence; (3) that the party cannot properly prepare
     for trial without such production and inspection in
     advance of trial and that the failure to obtain such
     inspection may tend unreasonably to delay the trial; and
     (4) that the application is made in good faith and is not
     intended as a general “fishing expedition.”


United States v. Nixon, 418 U.S. 683, 700 (1974); see also United

States v. Arditti, 955 F.2d 331, 345 (5th Cir. 1992)(finding that

a subpoena can be authorized only if the defendant can show that

the evidence sought is relevant, admissible, and has been requested

with sufficient specificity).       The     burden    is       on the party

requesting the documents to show good cause for production before

the trial or hearing.    United States v. Iozia, 13 F.R.D. 335, 338

(S.D.N.Y. 1952).

     The Government contends that Hankton has not met this burden,

and this Court agrees. Hankton fails to support his assertion that


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the requested documents are relevant, admissible, and identified

with sufficient specificity.                 The Court is not persuaded by

Hankton's     conclusory         contention       that     the   various      materials

requested are relevant and will be admissible at the March 27th

hearing;     Hankton's requests are so vague and overbroad that the

Court can only speculate as to the nature of the materials and

their relevance.          For that reason, the Court also disagrees with

Hankton's contention that he has identified the requested documents

with adequate specificity.

       Hankton does not claim that he cannot otherwise reasonably

procure the requested documents, or that they are necessary for him

to adequately prepare for the March 27th hearing.                           Instead, he

attempts to use the subpoenas as a discovery device, which they are

not.    Arditti, 955 F.2d at 346.            In the most sweeping of terms, he

requests     copies       of    any    "writings,    photographs,          drawings,      or

recordings whatsoever" made by any employee or agent of the FBI,

the U.S. Attorney's Office, the Department of Justice, the Times

Picayune, or any other member of the media, "touching in any way

on...[a]ny         and    all     []    meetings,        conversations,        &    other

communications whatsoever" between any government agent and any

member of the media "under any circumstances, at any place, and on

any    []   date    and    time."       Hankton     has    clearly    embarked      on    a




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remarkable fishing expedition.1

      Moreover, Hankton improperly requests that the subpoenaed

documents      be   produced        ex    parte.      Rule     17(c)(1)      specifically

provides:

      The court may direct the witness to produce the
      designated items in court before trial or before they are
      to be offered into evidence. When the items arrive, the
      court may permit the parties and their attorneys to
      inspect all or part of them.

See also United States v. Hart, 826 F. Supp. 380, 381 (D. Colo.

1993)("There        can   be   no    right      to   an   ex   parte    procurement        of

subpoenaed documents pretrial if the court has discretion to

supervise their production by permitting both parties to inspect

them prior to trial.").                  Ignoring Rule 17's explicit mandate,

Hankton asks that documents be produced to his counsel's law

offices rather than the Court.                 Moreover, Hankton seeks production

over one month before the scheduled hearing date. His requests are

plainly improper.         This Court will fervently safeguard defendants'

rights    to    a    fair      and       impartial    trial     and    to    defendants'

constitutional        rights.            But   the   Court     will    not    countenance

burlesque or false theatre.


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      The Court notes that although only three of the subpoenas were
      issued to FBI agents and the other three to members of the
      media, Hankton raises no challenge to the Government's
      standing to move to quash all six. Regardless, the Court is
      obligated under Rule 17 to assess each subpoena for compliance
      with the Nixon factors.      See Bowman Dairy Co. v. United
      States, 341 U.S. 214, 221 (1951)("The burden is on the court
      to see that the subpoena is good in its entirety and it is not
      upon the [subpoenaed party] to cull the good from the bad.").

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     Accordingly, the Court GRANTS the Government's motion to

quash.

                           New Orleans, Louisiana, February 21, 2014



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                                      MARTIN L. C. FELDMAN
                                  UNITED STATES DISTRICT JUDGE




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